                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 IN RE:                                              )
 Kenneth R Floyd,                                    )       Case No.: 18-82124-CRJ7
 Norma J Floyd,                                      )
                                                     )
        Debtor(s).                                   )       Chapter 7

 BANKRUPTCY ADMINISTRATOR’S RECOMMENDATION ON THE APPLICATIONS TO
              EMPLOY SPECIAL COUNSEL TO THE TRUSTEE

       COMES NOW the United States Bankruptcy Administrator for the Northern District of
 Alabama, by and through the undersigned counsel of record, and regarding the applications to
 employ special counsel states as follows:

        1. The Bankruptcy Administrator has reviewed the Trustee’s applications to employ
           special counsel (Docs. 73, 74, 75, and 76) to pursue a personal injury claim and finds
           the applications comply with the requirements of 11 U.S.C. §327(e) and Rule 2014 of
           the Federal Rules of Bankruptcy Procedure.

        2. The Applicants each seek to be independently employed at contingency fees that total
           no more than 33.333%, plus expenses. The requested contingency fees are reasonable
           for the type of case for which the employment is sought.

        3. The applications affirm that there is no agreement to share fees with other law firms
           and each counsel is filing a separate application to be employed in this case and will
           seek fees separately.


        WHEREFORE, the premises considered, Bankruptcy Administrator recommends that the
 applications to employ special counsel be approved.

        Respectfully submitted October 12, 2021.

                                              J. THOMAS CORBETT
                                              United States Bankruptcy Administrator for the
                                              Northern District of Alabama
                                              /s/ Richard M. Blythe
                                              Richard M. Blythe
                                              Assistant U.S. Bankruptcy Administrator
                                              Alabama Bar ID: ASB-3199-B52R




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 United States Bankruptcy Administrator
 Northern District of Alabama
 Seybourn H. Lynne Federal Building
 P.O. Box 3045
 400 Well Street NE. Room 236
 Decatur, Alabama 35602
 (256) 340-2740

                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2021, I have served a copy if the foregoing on the
 parties listed below by electronic service through the Court’s CM/ECF system and/or by placing
 a copy of the same in the U.S. Mail, postage prepaid.

 Tazewell Shepard, Esq., Trustee, Via CM/ECF electronic service

 Nicholas Howell Gajewski, Esq., Attorney for the Debtor, Via CM/ECF electronic service

                                             /s/Richard M. Blythe
                                             Richard M. Blythe




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